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 6                         IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Nicolle Halbur,                            )    No. CV-12-01120-PHX-SMM
                                                )
10               Plaintiff,                     )
                                                )
11   v.                                         )    AMENDED ORDER
                                                )
12   Jeff Kudla, et al.,                        )
                                                )
13               Defendants.                    )
                                                )
14                                              )
15          Pending before the court is the parties’ Stipulation and Joint Motion to Dismiss with
16   Prejudice. (Doc. 30).
17          Accordingly,
18          IT IS HEREBY ORDERED DISMISSING WITH PREJUDICE any and all
19   claims with all parties to bear their respective costs and attorney’s fees.
20          IT IS FURTHER ORDERED VACATING the status hearing set for Wednesday,
21   October 9, 2013, at 2:00 p.m.
22          DATED this 8th day of October, 2013.
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